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 7
     Attorneys for Plaintiff Hawel A. Hawel
8
                           IN THE UNITED STATES DISTRICT COURT
 9
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                    SAN FRANCISCO DIVISION
11
     IN RE: CATHODE RAY TUBE (CRT)              Case No. CV-07-5944 SC
12   ANTITRUST LITIGATION
     ____________________________________
13   This Document Relates to:
14
     Hawel A. Hawel d/b/a City Electronics v.   REQUEST FOR INTERNATIONAL
15   Chunghwa Picture Tubes, Ltd., et al.,      JUDICIAL ASSISTANCE
     Case No. CV-07-6279 SC
16                                              Courtroom: 1, 17th Floor
                                                Judge: The Honorable Samuel Conti
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     REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE; CASE NO. CV-07-5944 SC
 1          The United States District Court for the Northern District of California presents its
 2   compliments to the Appropriate Judicial Authority of Taiwan, and requests international
 3   assistance to effect Service of Process to be used in a civil proceeding before this Court in the
 4   action titled Hawel A. Hawel d/b/a City Electronics v. Chunghwa Picture Tubes, Ltd., et al.,
 5   Case No. CV-07-6279 SC.
 6   I.     REQUEST
 7          This Court requests the assistance described herein as necessary in the interests of justice.
8    The assistance requested is that the Appropriate Judicial Authority of Taiwan effect Service of
 9   Process of the: Summons in a Civil Case; Class Action Complaint; Order Setting Case
10   Management Conference/ Order Re Timely Filing Pleadings, Briefs, Motions, Etc./ Standing
11   Order for All Judges of the Northern District of California; Consent to Proceed Before a United
12   States Magistrate Judge; ECF Registration Information Handout; and Certified Translations on
13   the below named business entity, a named defendant in this action:
14                                          Chunghwa Picture Tubes, Ltd.
                                            1127 Heping Road
15                                          Bade City, Taoyuan
                                            Taiwan
16

17          The Appropriate Judicial Authority of Taiwan is requested to serve the documents listed
18   above by personal service into the hands of a director, managing agent or other person authorized
19   to accept service, or in a manner of service consistent with the law of Taiwan.
20   II.    FACTS OF THIS CASE
21          Plaintiff filed a class action complaint against several manufacturers of televisions,
22   computer monitors, and other electronic devices, including defendant Chunghwa Picture Tubes,
23   Ltd., for conspiring to fix the price of cathode ray tube products (“CRTs”) in violation of United
24   States antitrust laws. Plaintiff purchased CRTs in the United States directly from defendants.
25   Plaintiff alleges that beginning at least as early as January 1, 1995, the exact date being unknown
26   to plaintiff, named defendants conspired, combined and contracted to fix, raise, maintain, and
27   stabilize the prices at which CRTs were sold in the United States. Defendants, by and through
28   their officers, directors, employees, agents, or other representatives, entered in a continuing
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     REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE; CASE NO. CV-07-5944 SC
 1   contract, combination or conspiracy to unreasonably restrain trade and commerce in violation of
 2   Section 1 of the Sherman Antitrust Act, 15 U.S.C. §1. As a result, Plaintiff was forced to pay
 3   more for CRTs than they would have paid in a competitive CRT market. For its injuries, Plaintiff
 4   is requesting treble damages and an injunction enjoining defendants’ anti-competitive activity
 5   under sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15 and 26.
 6   III.      RECIPROCITY
 7             The United States District Court for the Northern District of California is willing to
8    provide similar assistance to the judicial authorities of Taiwan.
 9   IV.       REIMBURSEMENT FOR COSTS
10             Counsel for plaintiff is willing to ensure reimbursement to the judicial authorities of
11   Taiwan for costs incurred in executing this letter rogatory. If the cost of executing this Court’s
12   letter rogatory exceeds $500.00, the judicial authorities of Taiwan are requested to contact the
13   following counsel for plaintiff:
14                                    R. Alexander Saveri
                                      Saveri & Saveri, Inc.
15                                    111 Pine Street, Suite 1700
                                      San Francisco, CA 94111
16                                    Telephone: 415-217-6810
                                      Facsimile: 415-217-6813
17                                    Email: rick@saveri.com
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     V.        TIME TO RESPOND
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               In acknowledgment of the additional time which is needed to prepare and file a
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     responsive pleading to the attached documents, the time period is extended to 45 days after
21
     service.
22
              2/13
     Dated: ____________, 2008.                              __________________________________
23                                                           The Honorable Samuel Conti
     [COURT SEAL]                                            United States District Court
24                                                           Northern District of California
                                                             450 Golden Gate Ave.
25                                                           San Francisco, CA 94102
                                                             United States of America
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     REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE; CASE NO. CV-07-5944 SC
